Case 6:20-cv-00369-ADA Document 1-2 Filed 05/07/20 Page 1 of 4




          Exhibit 2
                   Case 6:20-cv-00369-ADA Document 1-2 Filed 05/07/20 Page 2 of 4




Home > Texas > Austin > Data Systems Consultants & Designers > Netapp


       Netapp
       Data Systems Consultants & Designers
              9606 N Mopac Expy
              Austin, TX 78759
              Travis County
              Phone : 512-287-7200


              Claim this business!



       Data Consulting USA - Assessment and Implementation
       Ad www.rsystems.com/data/consulting ▼
       Solve Complex Business challenges and Increase Data Effectiveness. Let's Talk

         ➤ Visit Website


      Information Related To Netapp in Austin, TX 78759


      ► Contact Person: Trey Prinz


      ► Employees: Estimated 10000+


      ► Annual Sales: Estimated $1,000,000,000+


      ► Industry Classifications:

            Data Systems Consultants & Designers
            Contractors - Computer



      ► Tenant Roster:
            There are 23 tenants including Netapp located at 9606 N Mopac Expy in Austin, TX.
            View Tenant Roster



           Professional Not Egotistical - SPSS, SAS, Stata, R and more
           Ad www.methodsconsultants.com/ ▼ (734) 544-8038
           Experienced consultants answering statistical and data science questions since 2009.
             About Us Tutorials
             Our Work Contact Us
             Blog
             ➤ Visit Website



      ► Similar Nearby Companies:
            Sockwell Performance Advisors
            Contractors - Computer, Data Systems Consultants & Designers
            Case 6:20-cv-00369-ADA Document 1-2 Filed 05/07/20 Page 3 of 4
     11782 Jollyville Rd
     Austin, TX 78759


    Hitachi Data Systems
    Computer Services, Contractors - Computer, Computer System Designers & Consultants, Data Systems Consultants
    & Designers
     9606 N Mopac Expy
     Austin, TX 78759


    Regus Data
    Contractors - Computer, Data Communication Service, Data Systems Consultants & Designers
     7000 N Mo Pac Expy
     Austin, TX 78731
     (2.38 miles from Austin, TX 78759)


    Johnston & Cloud Inc
    Contractors - Computer, Data Systems Consultants & Designers
     940 E 51st St
     Ste 103
     Austin, TX 78751
     (5.40 miles from Austin, TX 78759)


    Titan Datacom
    Contractors - Computer, Data Communication Service, Data Systems Consultants & Designers
     4020 S Industrial Dr
     Ste 145
     Austin, TX 78744
     (12.01 miles from Austin, TX 78759)


    Scandata Systems
    Contractors - Computer, Data Systems Consultants & Designers
    5700 S Mo Pac Expy
    Ste 210
    Austin, TX 78749
     (12.22 miles from Austin, TX 78759)


    Famous Designer Jackson Hedden - Design For Manufacturing
    Ad www.jacksonhedden.com/ ▼
    We Design Groundbreaking Products For Startups, Companies, And Everything In Between. Best Young and
    Upcoming Designers, Clint: Lamborghini, Gillette, Ford And Start-ups. Industrial Design. Branding. UX and web
    development. Packaging Design. Services: Industrial Designs, Branding, Contact Us.
       Contact Jackson Hedden Awards
       About Jackson Hedden
      ➤ Visit Website

    Certified Data Consultants - Make Sense of Your Data
    Ad digital.affirmaconsulting.com/data/consulting ▼ (425) 689-5269
    Our BI Solutions Solve Your Toughest Problems - The First Time. Grow and Evolve Your Business with Affirma
    Data Science Experts. Contact Us Today! Azure Consulting. CRM Consulting. Data Analytics. SharePoint
    Consulting. Marketing Services. Services: Predictive Analytics, Data Visualization.

      ➤ Visit Website


► Nearby Suggestions for Data Systems Consultants & Designers:
    Data Systems Consultants & Designers in Austin, TX 78759

    Data Systems Consultants & Designers in Travis County, TX




                                           ×
                  Netapp
              Case 6:20-cv-00369-ADA Document 1-2 Filed 05/07/20 Page 4 of 4
                    9606 N Mopac Expy
     +              Austin, TX 78759
                    Get Driving Directions
     −




                       Leaflet | © OpenStreetMap contributors


           List Your Site   Member Login    About Us   Help & FAQ's    Contact Us    Terms of Use    Privacy Policy   Site Map

                                     © 1999-2020 b2bYellowpages.com® - All rights reserved.
b2bYellowpages.com logo and all related marks are trademarks of b2bBiz.com, Inc. All other marks are the property of their respective owners
